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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                            )   Chapter 7
                                                  )
ANTHONY PAUL URGO,                                )   Case No. 18-34421
                                                  )
         Debtor.                                  )   Honorable LaShonda A. Hunt
                                                  )
                                                  )   Hearing Date: March 14, 2019
                                                  )   Hearing Time: 10:00 a.m.

                                     NOTICE OF MOTION

TO:      See Attached Certificate of Service

       PLEASE TAKE NOTICE that on March 14, 2019 at 10:00 a.m., or as soon thereafter as
counsel may be heard, I shall appear before the Honorable LaShonda A. Hunt, Bankruptcy
Judge in Room 719 of the United States Bankruptcy Court for the Northern District of Illinois,
219 S. Dearborn St., Chicago, Illinois, and shall then and there present the attached MOTION
FOR SUBSTITUTION OF ATTORNEY, a copy of which is attached and served upon you.

                                               Respectfully submitted,

                                               ANTHONY PAUL URGO

                                               By /s/ Robert W. Glantz
                                                 One of its attorneys


Robert W. Glantz (IL ARDC 6201207)
Fox Rothschild LLP
321 North Clark Street, Suite 800
Chicago, IL 60654
rglantz@foxrothschild




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                               CERTIFICATE OF SERVICE

        Robert W. Glantz, an attorney, certifies that he caused to be served a true copy of the
above and foregoing notice and attached pleading on the Electronic Mail Notice List through the
ECF Systems which sent notification of such filing via electronic means or via prepaid United
States First Class Mail, as indicated on March 12, 2019.


                                                              /s/ Robert W. Glantz
                                                              Robert W. Glantz
Mailing Information for Case 18-34421
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

    •   Tejal S. Desai tdesai@llflegal.com
    •   Bradley H Foreman Brad@BradleyForeman.com
    •   Robert W Glantz rglantz@foxrothschild.com, orafalovsky@foxrothschild.com
    •   Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
    •   Philip V Martino philip.martino@quarles.com,
        pmartino@ecf.epiqsystems.com;jenny.fik@quarles.com;colleen.greer@quarles.com;wem
        et@quarles.com
    •   Charles T Newland chuck@cnewlandassociates.com,
        nick@cnewlandassociates.com;laura@cnewlandassociates.com;assistant@cnewlandasso
        ciates.com;david@cnewlandassociates.com;newlandcr66858@notify.bestcase.com
    •   Richard A. Saldinger rsaldinger@llflegal.com




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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
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In re:                                                 )   Chapter 7
                                                       )
ANTHONY PAUL URGO,                                     )   Case No. 18-34421
                                                       )
         Debtor.                                       )   Honorable LaShonda A. Hunt
                                                       )
                                                       )   Hearing Date: March 14, 2019
                                                       )   Hearing Time: 10:00 a.m.


     MOTION OF ANTHONY PAUL URGO FOR SUBSTITUTION OF ATTORNEY


         NOW COMES Anthony Paul Urgo (the “Debtor”) by and through his attorney, Robert

W. Glantz, and in support of its motion, the Debtor respectfully states as follows:

         1.        This Court has jurisdiction to hear this matter and enter a final order granting the

relief requested herein pursuant to 28 U.S.C. §§ 157 and 1334 and Internal Operating Procedure

15(a) of the United States District Court for the Northern District of Illinois. Venue is proper in

this District pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.        On or about December 12, 2108, the Debtor filed a voluntary bankruptcy petition

under Chapter 7 of the code (the “Case”).

         3.        The Debtor retained Charles T. Newland to represent him in his Case.

         4.        Based on irreconcilable differences between the parties, the Debtor has terminated

its engagement of Mr. Newland.

         5.        On February 26, 2019, the Debtor retained Robert W. Glantz and Fox Rothschild

LLP (“Fox Rothschild”) as counsel in connection with this matter.

         6.        The Debtor requests that the Court grant leave for Mr. Glantz and Fox Rothschild

to substitute for Mr. Newland as counsel of record in this matter.


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        WHEREFORE, the Debtor requests that the Court enter an order substituting Robert W.

Glantz and Fox Rothschild LLP, as counsel for the Debtor, and granting such other relief as the

Court deems just.




Dated: March 12, 2019                          Respectfully submitted,

                                               ANTHONY PAUL URGO

                                               By /s/ Robert W. Glantz
                                                 One of his attorneys


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